     Case 2:22-cv-00180-SAB      ECF No. 13   filed 08/31/22   PageID.51 Page 1 of 17




1
     ROBERT A. DUNN, WSBA No. 12089
2    ALEXANDRIA T. DRAKE, WSBA #45188
     DUNN & BLACK, P.S.
3
     111 North Post, Ste. 300
4    Spokane, WA 99201-0907
     Telephone: (509) 455-8711
5    Facsimile: (509) 455-8734
6    Attorneys for Defendants

7

8
                     IN THE UNITED STATES DISTRICT COURT
9                      EASTERN DISTRICT OF WASHINGTON
10
     LUXOTTICA GROUP, S.P.A., an               )
11   Italian corporation, and OAKLEY,          )   NO. 2:22-cv-00180-SAB
     INC., a Washington corporation,           )
12                                                 DEFENDANTS ROBERT
                                               )
                         Plaintiffs,               COSSEY, STACY COSSEY,
13                                             )
                                                   TYLER COSSEY, AND THE
                                               )
14          v.                                     STORE ON THOR, LLC’S
                                               )
                                                   ANSWER TO COMPLAINT
     THE STORE ON THOR, LLC,                   )
15                                                 AND JURY DEMAND
     DANIELLE COSSEY, individually,            )
16   and ROBERT COSSEY individually,           )
     STACY COSSEY, individually, and           )
17
     TYLER COSSEY, individually                )
18                                             )
                         Defendants.           )
19

20          Defendants Robert Cossey, Stacy Cossey, Tyler Cossey, and The Store On
21   Thor, LLC hereby respond as follows to the Complaint filed by Plaintiffs in this
22
     action and assert the following affirmative defenses:
23

24

25

26
      DEFENDANTS’ ANSWER TO                                                Dunn&Black
                                                                         A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 1                                       111 North Post, Suite 300
                                                                             Spokane, WA 99201
                                                                 VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB        ECF No. 13   filed 08/31/22   PageID.52 Page 2 of 17




                              I.    SUMMARY OF ACTION
1

2          1.     Admit Defendants Danielle Cossey, Robert Cossey, Stacy Cossey
3
     and Tyler Cossey are Members of The Store On Thor, LLC, that Tyler Cossey is
4
     the manager of The Store On Thor, LLC, and that The Store On Thor, LLC owns
5

6    and operates a retail store called “The Store On Thor” located at 305 S. Thor St. in

7    Spokane, WA. All other allegations in this paragraph are denied.
8
           2.     Denied.
9
                                        II. PARTIES
10

11         3.     Defendants Cossey and The Store On Thor lack knowledge or

12   information sufficient to form a belief as to the allegations contained in this
13
     paragraph, and therefore deny the same.
14
           4.     Defendants Cossey and The Store On Thor lack knowledge or
15

16   information sufficient to form a belief as to the allegations contained in this
17   paragraph, and therefore deny the same.
18
           5.     Admit The Store On Thor, LLC (“The Store On Thor”) is a limited
19

20
     liability corporation organized and existing under the laws of the State of

21   Washington, with its principal place of business at 305 S. Thor Street, Spokane,
22
     WA 99202, and that The Store On Thor conducts business within the State of
23
     Washington. All other allegations in this paragraph are legal conclusions to which
24

25

26
      DEFENDANTS’ ANSWER TO                                                  Dunn&Black
                                                                           A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 2                                         111 North Post, Suite 300
                                                                               Spokane, WA 99201
                                                                   VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB      ECF No. 13    filed 08/31/22   PageID.53 Page 3 of 17




     no response is required, and thus are denied. To the extent a response is required,
1

2    all other allegations in this paragraph are denied.
3
           6.      Defendant Danielle Cossey is the daughter of Defendants Robert and
4
     Stacy Cossey. Admit Danielle Cossey is a Member of The Store On Thor and has
5

6    an ownership interest in The Store On Thor and the retail store of the same name.

7    All other allegations in this paragraph are denied.
8
           7.      Defendant Robert Cossey is the father of Defendants Danielle and
9
     Tyler Cossey. Admit Robert Cossey is a Member of The Store On Thor and has
10

11   an ownership interest in The Store On Thor and the retail store of the same name.

12   All other allegations in this paragraph are denied.
13
           8.      Defendant Stacy Cossey is the ex-wife of Robert Cossey, and the
14
     mother of Defendants Danielle and Tyler Cossey. Admit Stacy Cossey is a
15

16   Member of The Store On Thor and has an ownership interest in The Store On Thor
17   and the retail store of the same name. All other allegations in this paragraph are
18
     denied.
19

20
           9.      Defendant Tyler Cossey is the son of Robert and Stacy Cossey.

21   Admit Tyler Cossey is a Member and Manager of The Store On Thor, and has an
22
     ownership interest in The Store On Thor. All other allegations in this paragraph
23
     are denied.
24

25         10.     Denied.

26
      DEFENDANTS’ ANSWER TO                                                 Dunn&Black
                                                                          A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 3                                        111 North Post, Suite 300
                                                                              Spokane, WA 99201
                                                                  VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB       ECF No. 13   filed 08/31/22   PageID.54 Page 4 of 17




                           III.   JURISDICTION AND VENUE
1

2          11.    Admit.
3
           12.    Admit the Court has personal jurisdiction over Robert Cossey, Stacy
4
     Cossey, and Tyler Cossey; that The Store On Thor is doing business in Washington
5

6    and this District, and that Robert Cossey, and Tyler Cossey are citizens and

7    residents domiciled in the State of Washington. Deny that there is personal
8
     jurisdiction over Danielle Cossey or Stacy Cossey and/or that Danielle Cossey or
9
     Stacy Cossey are citizens, residents, and/or domiciled in the State of Washington.
10

11   All other allegations in this paragraph are denied.

12         13.    Admit that venue is proper in this District as to the claims asserted
13
     against Robert Cossey, Stacy Cossey, and Tyler Cossey, and that these individuals
14
     reside in Washington. All other allegations contained in this paragraph are denied.
15

16                          IV.    FACTUAL ALLEGATIONS
17   A.    The Allegedly World-Famous Luxottica Brands and Products.
18
           14.    Defendants Cossey and The Store On Thor lack knowledge or
19

20
     information sufficient to form a belief as to the allegations contained in this

21   paragraph, and therefore deny the same.
22
           15.    Defendants Cossey and The Store On Thor lack knowledge or
23
     information sufficient to form a belief as to the allegations contained in this
24

25   paragraph, and therefore deny the same.

26
      DEFENDANTS’ ANSWER TO                                                 Dunn&Black
                                                                          A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 4                                        111 North Post, Suite 300
                                                                              Spokane, WA 99201
                                                                  VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB      ECF No. 13    filed 08/31/22   PageID.55 Page 5 of 17




           16.    Defendants Cossey and The Store On Thor lack knowledge or
1

2    information sufficient to form a belief as to the allegations contained in this
3
     paragraph, and therefore deny the same.
4
           17.    Defendants Cossey and The Store On Thor lack knowledge or
5

6    information sufficient to form a belief as to the allegations contained in this

7    paragraph, and therefore deny the same.
8
           18.    Defendants Cossey and The Store On Thor lack knowledge or
9
     information sufficient to form a belief as to the allegations contained in this
10

11   paragraph, and therefore deny the same.

12         19.    Defendants Cossey and The Store On Thor lack knowledge or
13
     information sufficient to form a belief as to the allegations contained in this
14
     paragraph, and therefore deny the same.
15

16         20.    Defendants Cossey and The Store On Thor lack knowledge or
17   information sufficient to form a belief as to the allegations contained in this
18
     paragraph, and therefore deny the same.
19

20
           21.    This paragraph contains legal conclusions to which no response is

21   required, and Defendants Cossey and The Store On Thor therefore deny the same.
22
     To the extent a response is required, all allegations in this paragraph are denied.
23

24

25

26
      DEFENDANTS’ ANSWER TO                                                 Dunn&Black
                                                                          A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 5                                        111 North Post, Suite 300
                                                                              Spokane, WA 99201
                                                                  VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB      ECF No. 13    filed 08/31/22   PageID.56 Page 6 of 17




           22.    This paragraph contains legal conclusions to which no response is
1

2    required, and Defendants Cossey and The Store On Thor therefore deny the same.
3
     To the extent a response is required, all allegations in this paragraph are denied.
4
           23.    This paragraph contains legal conclusions to which no response is
5

6    required, and Defendants Cossey and The Store On Thor therefore deny the same.

7    To the extent a response is required, all allegations in this paragraph are denied.
8
           24.    Defendants Cossey and The Store On Thor lack knowledge or
9
     information sufficient to form a belief as to the allegations contained in this
10

11   paragraph, and therefore deny the same.

12   B.    Oakley’s Allegedly Famous Brand and Trademarks
13
           25.    Defendants Cossey and The Store On Thor lack knowledge or
14
     information sufficient to form a belief as to the allegations contained in this
15

16   paragraph, and therefore deny the same.
17         26.    Defendants Cossey and The Store On Thor lack knowledge or
18
     information sufficient to form a belief as to the allegations contained in this
19

20
     paragraph, and therefore deny the same.

21         27.    Defendants Cossey and The Store On Thor lack knowledge or
22
     information sufficient to form a belief as to the allegations contained in this
23
     paragraph, and therefore deny the same.
24

25

26
      DEFENDANTS’ ANSWER TO                                                 Dunn&Black
                                                                          A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 6                                        111 North Post, Suite 300
                                                                              Spokane, WA 99201
                                                                  VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB      ECF No. 13    filed 08/31/22   PageID.57 Page 7 of 17




           28.    Defendants Cossey and The Store On Thor lack knowledge or
1

2    information sufficient to form a belief as to the allegations contained in this
3
     paragraph, and therefore deny the same.
4
           29.    Defendants Cossey and The Store On Thor lack knowledge or
5

6    information sufficient to form a belief as to the allegations contained in this

7    paragraph, and therefore deny the same.
8
           30.    Defendants Cossey and The Store On Thor lack knowledge or
9
     information sufficient to form a belief as to the allegations contained in this
10

11   paragraph, and therefore deny the same.

12         31.    This paragraph contains legal conclusions to which no response is
13
     required, and Defendants Cossey and The Store On Thor therefore deny the same.
14
     To the extent a response is required, all allegations in this paragraph are denied.
15

16         32.     This paragraph contains legal conclusions to which no response is
17   required, and Defendants Cossey and The Store On Thor therefore deny the same.
18
     To the extent a response is required, all allegations in this paragraph are denied.
19

20
           33.    This paragraph contains legal conclusions to which no response is

21   required, and Defendants Cossey and The Store On Thor therefore deny the same.
22
     To the extent a response is required, all allegations in this paragraph are denied.
23

24

25

26
      DEFENDANTS’ ANSWER TO                                                 Dunn&Black
                                                                          A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 7                                        111 North Post, Suite 300
                                                                              Spokane, WA 99201
                                                                  VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB      ECF No. 13    filed 08/31/22    PageID.58 Page 8 of 17




           34.    Defendants Cossey and The Store On Thor lack knowledge or
1

2    information sufficient to form a belief as to the allegations contained in this
3
     paragraph, and therefore deny the same.
4
     C.    Defendants’ Allegedly Infringing Conduct.
5

6          35.    Admit The Store On Thor, LLC is a limited liability company

7    organized and existing under the laws of the State of Washington and doing
8
     business as The Store On Thor. Admit Defendants Danielle Cossey, Robert
9
     Cossey, Stacy Cossey, and Tyler Cossey are members of Defendant The Store On
10

11   Thor, LLC. Deny that Defendants Danielle Cossey, Robert Cossey, and/or Stacy

12   Cossey are executives, officers, and/or governors or managers of Defendant Store
13
     on Thor, LLC. Deny that Defendants Danielle Cossey, Robert Cossey, and/or
14
     Stacy Cossey retain control of the company defendant and/or the retail store. All
15

16   other allegations contained in this paragraph are denied.
17         36.    Defendants Cossey and The Store On Thor lack knowledge or
18
     information sufficient to form a belief as to the allegations contained in this
19

20
     paragraph that a representative of Plaintiffs visited The Store On Thor and/or

21   purchased any sunglasses, and therefore deny the same. Defendants Cossey and
22
     The Store On Thor further lack knowledge or information sufficient to form a belief
23
     as to the photographs in this paragraph and/or the allegations that the photos depict
24

25   products purchased at The Store On Thor, and therefore deny the same. Defendants

26
      DEFENDANTS’ ANSWER TO                                                  Dunn&Black
                                                                           A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 8                                         111 North Post, Suite 300
                                                                               Spokane, WA 99201
                                                                   VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB       ECF No. 13    filed 08/31/22   PageID.59 Page 9 of 17




     Cossey and The Store On Thor specifically deny that any glasses purchased by
1

2    and/or delivered to Plaintiffs from The Store On Thor were counterfeit. All other
3
     allegations contained in this Paragraph are denied.
4
           37.    Denied. Defendants Cossey and The Store On Thor specifically deny
5

6    that any counterfeit items were advertised, promoted, distributed, publicly

7    displayed, sold, and/or offered for sale at The Store On Thor.
8
           38.    Denied.
9
           39.    Denied.
10

11         40.    Denied.

12         41.    Denied.
13
           42.    Denied.
14
           43.    Denied.
15

16         44.    Denied.
17         45.    Denied.
18
                      V.     CLAIMS ASSERTED BY PLAINTIFFS
19

20
                                   COUNT I
           Trademark Infringement and Counterfeiting (Under 15 U.S.C. § 1114)
21
           46.     Defendants Cossey and The Store On Thor incorporate by reference
22

23   their responses to the allegations above, as if fully set forth herein.
24         47.    Denied.
25

26
      DEFENDANTS’ ANSWER TO                                                   Dunn&Black
                                                                            A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 9                                          111 North Post, Suite 300
                                                                                Spokane, WA 99201
                                                                    VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB      ECF No. 13     filed 08/31/22   PageID.60 Page 10 of 17




           48.    Denied.
1

2          49.    Denied.
3
           50.    Denied.
4
           51.    This paragraph contains legal conclusions to which no response is
5

6    required and Defendants Cossey and The Store On Thor therefore deny the same.

7    To the extent a response is required, the allegations contained in this paragraph are
8
     denied. All other allegations contained in this paragraph are denied.
9
           52.    This paragraph contains legal conclusions to which no response is
10

11   required and Defendants Cossey and The Store On Thor therefore deny the same.

12   To the extent a response is required, the allegations contained in this paragraph are
13
     denied. All other allegations contained in this paragraph are denied.
14
                                      COUNT II
15
                      Unfair Competition Under 15 U.S.C. § 1125(a)
16
           53.    Defendants Cossey and The Store On Thor incorporate by reference
17

18   their responses to the allegations above, as if fully set forth herein.

19         54.    Denied.
20
           55.    This paragraph contains legal conclusions to which no response is
21
     required and Defendants Cossey and The Store On Thor therefore deny the same.
22

23   To the extent a response is required, the allegations contained in this paragraph are
24   denied. All other allegations contained in this paragraph are denied.
25

26
      DEFENDANTS’ ANSWER TO                                                   Dunn&Black
                                                                            A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 10                                         111 North Post, Suite 300
                                                                                Spokane, WA 99201
                                                                    VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB      ECF No. 13     filed 08/31/22   PageID.61 Page 11 of 17




           56.    This paragraph contains legal conclusions to which no response is
1

2    required and Defendants Cossey and The Store On Thor therefore deny the same.
3
     To the extent a response is required, the allegations contained in this paragraph are
4
     denied. All other allegations contained in this paragraph are denied.
5

6                                    COUNT III
                      Trademark Dilution Under 15 U.S.C. § 1125(c)
7
           57.    Defendants Cossey and The Store On Thor incorporate by reference
8

9    their responses to the allegations above, as if fully set forth herein.
10         58.    Defendants Cossey and The Store On Thor lack knowledge or
11
     information sufficient to form a belief as to the allegations contained in this
12

13
     paragraph, and therefore deny the same.

14         59.    Defendants Cossey and The Store On Thor lack knowledge or
15
     information sufficient to form a belief as to the allegations contained in this
16
     paragraph, and therefore deny the same.
17

18         60.    Denied.

19         61.    Denied.
20
           62.    Denied.
21
           63.    This paragraph contains legal conclusions to which no response is
22

23   required and Defendants Cossey and The Store On Thor therefore deny the same.
24

25

26
      DEFENDANTS’ ANSWER TO                                                   Dunn&Black
                                                                            A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 11                                         111 North Post, Suite 300
                                                                                Spokane, WA 99201
                                                                    VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB      ECF No. 13     filed 08/31/22   PageID.62 Page 12 of 17




     To the extent a response is required, the allegations contained in this paragraph are
1

2    denied. All other allegations contained in this paragraph are denied.
3
           64.     This paragraph contains legal conclusions to which no response is
4
     required and Defendants Cossey and The Store On Thor therefore deny the same.
5

6    To the extent a response is required, the allegations contained in this paragraph are

7    denied. All other allegations contained in this paragraph are denied.
8
                 VI.   APPLICATION FOR PERMANENT INJUNCTION
9
           65.     Defendants Cossey and The Store On Thor incorporate by reference
10

11   their responses to the allegations above, as if fully set forth herein.

12         66.     Denied.
13
           67.     This paragraph contains legal conclusions to which no response is
14
     required, and Defendants Cossey and The Store On Thor therefore deny the same.
15

16   To the extent a response is required, all allegations in this paragraph along with all
17   subsections to this paragraph are denied.
18
           68.     This paragraph contains legal conclusions to which no response is
19

20
     required, and Defendants Cossey and The Store On Thor therefore deny the same.

21   To the extent a response is required, all allegations in this paragraph are denied.
22
                             VII. DEMAND FOR JURY TRIAL
23
           69.     In accordance with Federal Rule of Civil Procedure 38, Defendants
24

25   Cossey and The Store On Thor hereby demand a trial by jury on all issues so triable.

26
      DEFENDANTS’ ANSWER TO                                                   Dunn&Black
                                                                            A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 12                                         111 North Post, Suite 300
                                                                                Spokane, WA 99201
                                                                    VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB       ECF No. 13   filed 08/31/22   PageID.63 Page 13 of 17




                                  VIII. GENERAL DENIAL
1

2          Defendants Cossey and The Store On Thor deny generally and specifically
3
     deny each and every allegation contained in Plaintiffs’ Complaint not specifically
4
     admitted herein, including the Prayer for Relief, as well as but not limited to the
5

6    allegations and inferences contained in Plaintiffs’ Introduction and section

7    headings. Defendants Cossey and The Store On Thor further deny that Plaintiffs
8
     are entitled to damages, treble or punitive damages, equitable relief, injunctive
9
     relief, attorneys’ fees, costs, pre-judgment interest, or to any relief whatsoever, and
10

11   state as follows:

12                          IX.     AFFIRMATIVE DEFENSES
13
           Further answering Plaintiffs’ Complaint and, by way of affirmative defenses,
14
     Defendants Cossey and The Store On Thor alleges as follows:
15

16         1.     Plaintiffs’ Complaint fails to state a claim upon which relief can be
17   granted.
18
           2.     Plaintiffs’ damages, if any, were proximately caused by their own acts
19

20
     or omissions.

21         3.     Plaintiffs’ claims are barred by the doctrines of estoppel, waiver,
22
     acquiescence, and/or laches.
23
           4.     Plaintiffs’ claims are barred by the doctrine of unclean hands.
24

25         5.     Plaintiffs have failed to mitigate their damages, if any.

26
      DEFENDANTS’ ANSWER TO                                                  Dunn&Black
                                                                           A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 13                                        111 North Post, Suite 300
                                                                               Spokane, WA 99201
                                                                   VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB       ECF No. 13   filed 08/31/22   PageID.64 Page 14 of 17




             6.    Trademark misuse.
1

2            7.    First Amendment.
3
             8.    Failure to join necessary parties.
4
             9.    At all times relevant hereto, Defendants’ actions were reasonable and
5

6    in good faith, and without malice.

7            10.   Defendants have not infringed any applicable trademarks under
8
     federal or state law.
9
             11.   In the alternative, any infringement, if any, was innocent.
10

11           12.   Defendants did not have knowledge that any goods allegedly sold,

12   distributed, advertised, publicly displayed or offered for sale bearing allegedly
13
     protected marks were anything less than bona fide goods, and Defendants have not
14
     willfully infringed, directly or indirectly, any protected marks of Plaintiffs.
15

16           13.   No counterfeit products were sold, distributed, advertised, publicly
17   displayed or offered for sale.
18
             14.   In the alternative, if trademarked goods allegedly sold were
19

20
     counterfeit, Defendants Cossey and The Store On Thor lacked knowledge of the

21   same.
22
             15.   First sale doctrine.
23
             16.   Plaintiffs’ damages, if any, were not caused by Defendants Cossey
24

25   and/or The Store On Thor.

26
      DEFENDANTS’ ANSWER TO                                                  Dunn&Black
                                                                           A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 14                                        111 North Post, Suite 300
                                                                               Spokane, WA 99201
                                                                   VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB     ECF No. 13    filed 08/31/22   PageID.65 Page 15 of 17




           17.    Without admitting that the Complaint states a claim, there has been no
1

2    damage, in any amount, manner, or at all by reason of any act alleged against
3
     Defendants Cossey and The Store On Thor in the Complaint, and the relief prayed
4
     for in the Complaint therefore cannot be granted.
5

6          18.    Some or all of the marks at issue are generic.

7          19.    Abandonment.
8
           20.    Plaintiffs’ claims are barred, in whole or in part, by reason of third-
9
     parties’ use of any marks at issue.
10

11         21.    Defendants Cossey and The Store On Thor are not liable for the acts

12   of independent third-parties over whom they have no control.
13
           22.    Plaintiffs’ claims for injunctive relief are barred because Plaintiffs
14
     cannot show that they have or will suffer any irreparable harm.
15

16         23.    The alleged injury or damage suffered by Plaintiffs, if any, would be
17   adequately compensated by damages. Accordingly, Plaintiffs have a complete and
18
     adequate remedy at law and are not entitled to seek equitable relief.
19

20
           24.    Plaintiffs cannot recover actual damages under multiple and/or

21   different theories and causes of action for the same or similar alleged acts.
22
           25.    Plaintiffs’ claims for relief are barred to the extent they seek
23
     duplicative relief for the same alleged acts and/or omissions.
24

25

26
      DEFENDANTS’ ANSWER TO                                                  Dunn&Black
                                                                           A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 15                                        111 North Post, Suite 300
                                                                               Spokane, WA 99201
                                                                   VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB       ECF No. 13   filed 08/31/22   PageID.66 Page 16 of 17




           To the extent necessary, Defendants’ answers to the Complaint shall be
1

2    designated as defenses and affirmative defenses. Defendants reserve the right to
3
     assert additional affirmative defenses.
4
                             X.      REQUEST FOR RELIEF
5

6           WHEREFORE, Defendants respectfully pray for the following relief:

7          1. For the dismissal of Plaintiffs’ Complaint and all of Plaintiffs’ claims,
8
              with prejudice;
9
           2. For an award of Defendants’ costs and attorney fees incurred herein; and
10

11         3. For such other and further relief as this Court may deem just and

12            equitable.
13
           DATED this 31st day of August, 2022.
14
                                      DUNN & BLACK, P.S.
15

16                                    s/ ROBERT A. DUNN
                                      ROBERT A. DUNN, WSBA No. 12089
17                                    ALEXANDRIA T. DRAKE, WSBA No. 45188
18                                    Attorneys for Defendants
                                      Dunn & Black, P.S.
19                                    111 North Post, Ste. 300
20
                                      Spokane, WA 99201-0907
                                      Telephone: (509) 455-8711
21                                    Fax:       (509) 455-8734
                                      Email: bdunn@dunnandblack.com
22
                                              adrake@dunnandblack.com
23

24

25

26
      DEFENDANTS’ ANSWER TO                                                  Dunn&Black
                                                                           A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 16                                        111 North Post, Suite 300
                                                                               Spokane, WA 99201
                                                                   VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB    ECF No. 13    filed 08/31/22   PageID.67 Page 17 of 17




                              CERTIFICATE OF SERVICE
1

2           I HEREBY CERTIFY that on the 31st day of August, 2022, I electronically
     filed the foregoing document with the Clerk of the Court using the CM/EFC
3    system. The CM/ECF system will send notification of such filings to the following:
4          •    Reid Johnson
5              rjohnson@lukins.com; mlindquist@lukins.com

6

7                                    DUNN & BLACK, P.S.
8                                    s/ ROBERT A. DUNN
9                                    ROBERT A. DUNN, WSBA No. 12089
                                     ALEXANDRIA T. DRAKE, WSBA No. 45188
10                                   Attorneys for Plaintiff
                                     Dunn & Black, P.S.
11
                                     111 North Post, Ste. 300
12                                   Spokane, WA 99201-0907
                                     Telephone: (509) 455-8711
13                                   Fax:       (509) 455-8734
14                                   Email: bdunn@dunnandblack.com
                                            adrake@dunnandblack.com
15

16

17

18

19

20

21

22

23

24

25

26
      DEFENDANTS’ ANSWER TO                                                Dunn&Black
                                                                         A Professional Service Corp.
      COMPLAINT AND JURY DEMAND - 17                                      111 North Post, Suite 300
                                                                             Spokane, WA 99201
                                                                 VOICE: (509) 455-8711 • FAX: (509) 455-8734
